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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-mj-00622 (RMM)
       v.                                     :
                                              :
CODY MATTICE,                                 :
                                              :
                Defendant.                    :


               REPORT ON THE VIDEO EVIDENCE DESCRIBED
      IN THE GOVERNMENT’S MOTION FOR REVIEW OF RELEASE ORDER


       The United States, by and through its attorney, the Acting United States Attorney for the

District of Columbia, files this report on the length and sources of the video evidence described in

the government’s Motion for Review of a Release Order (Dkt. 7). The government has no objection

to making all the evidence described herein publicly available without restriction.

       The government has provided all the video described within to the Court and to defense

counsel by way of USAfx. This report identifies video segments by their file names.

       I.       Open-Source Footage

       The following videos were obtained from open-source footage, apparently taken by other

people present on the U.S. Capitol grounds on January 6, 2021 1:

       FULL FOOTAGE Patriots STORM U.S. Capitol (4K60fps).mp4 – This video illustrates the

conduct described at pages seven through ten of the government’s Motion for Review and is the




1
  The government has had technical difficulties in obtaining from the FBI and in uploading the
video described on page 4 of the government’s Motion for Review, in which the defendant
identifies himself as “Cody from Rochester.” This video was also obtained from an open source.
The government will share this video with the Court and defense counsel as soon as it can be
uploaded to USAfx.
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source of Figures Six through Eleven. The video is one hour, 25 minutes, and 43 seconds long.

The relevant segment is between the time stamps of 31:45 to 32:10.

       jan6phonerecovery.mov – This video illustrates the conduct described at pages eleven

through thirteen of the government’s memorandum and is the source of Figures Twelve through

Fifteen. Together with other videos, it also illustrates the conduct described at page fourteen. It is

one hour, ten minutes, and 35 seconds long. The relevant segment is between time stamps 31:59

and 35:16. In particular: at 33:07, the defendant begins his ascent towards the tunnel; at 33:55, he

reaches the tunnel; at 34:58, he reaches into the crowd for a canister; and at 35:01, he leans across

co-defendant Mault to deploy chemical spray at officers.

       ANTIFA BLM at the Capitol Washington DC January 6, 2021 RAW footage (two guys let

out, why).mp4 – This video is the source of Figure Seventeen, and together with other videos, it

illustrates the conduct described at page fourteen of the government’s Motion. It is four minutes

and 31 seconds long, and the relevant segment is between time stamps 00:00 and 01:08. 2

       II.     Surveillance Footage from the United States Capitol Police

       0074USCHBALowerWTerraceDoorExterior_2021-01-06_15h57min42s260ms.mp4

       This video is the source of Figure Sixteen, and together with other videos, it illustrates the

conduct described at page fourteen of the government’s Motion. It is 17 minutes and 55 seconds

long, and as the file name suggests, it captures events beginning at 3:57:42 p.m. on January 6,

2021. The relevant segment is between time stamps 05:47 and 8:08. In particular, the defendant’s

hand and part of his arm can be seen, as he reached across Mault to deploy chemical spray, between

time stamps 07:00 and 07:10.



2
  The image identified as Figure Eighteen was also obtained from an open source. The agent
assigned to this case obtained it as a stand-alone image, and the undersigned does not know
whether it is a photograph or a still image from a video.
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       III.    Body-Worn Camera Footage

       2020106 – FELONY RIOTS – 100 D ST NW.mp4 – This is a body-worn camera video taken

from an officer of the Metropolitan Police Department in the Lower West Terrace tunnel. It is 14

minutes and 52 seconds long. The officer equipped with this body-worn camera appears to be the

same officer who occupied an elevated position in the tunnel, as can be seen in the surveillance

video discussed above. Although no still images in the government’s Motion derive from this

footage, it is part of the government’s proof of the conduct described at page 14 and 15.

       The relevant segment is from time stamp 00:23 to 01:33. At time stamp 00:23, the

defendant can be seen during his climb toward the tunnel, as he attempts to scale the wooden arch.

See id. at 14. The defendant’s face is visible shortly thereafter. At time stamp 01:15, Mault can be

seen attempting to scale the arch. From approximately 01:25 to 01:33, the body-worn camera

shows chemical spray directed into the tunnel at this officer and several others nearby. The

chemical spray appears to come from a canister carried by someone reaching his arm across

Mault’s back. Other evidence makes clear this was the defendant. (Dkt. 7 at 14-15.)

       IV.     Footage Recovered From the Defendant’s Video Camera

       The following videos, which the government cited on pages 18-19 of its motion, were

seized by the FBI from the defendant’s video camera, which was recovered during a search warrant

executed at his home executed on October 7, 2021. The videos are listed below in the order in

which they were cited.

       HDV_0165.mp4 - This video is 43 seconds long. The relevant quotations are between time

stamps 00:14 to 00:24 (“We’re getting ready …”) and time stamps 00:37 to 00:42 (“let’s do this

…”).




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       HDV_0166.mp4 – This video is 57 seconds long. The relevant quotation is captured

between time stamps 00:01 to 00:10 (“It’s a march on Capitol Hill …”).

       HDV_0168.mp4 – This video is 34 seconds long. The relevant quotation is captured

between time stamps 00:11 to 00:32 (“Here we are, Capitol Hill …”).

       HDV_0171.mp4 – This video is 12 minutes and 44 seconds long. The relevant quotations

are captured between time stamps 07:40 to 07:46 (“Your jobs will be here …”) and 09:50 to 10:05

(“This shit’s fucking right …”).

       HDV_0179.mp4 – This video is 47 seconds long. The relevant quotation is captured

between time stamps 00:00 to 00:05 (“Want to get up there? …”).


                                           Respectfully submitted,

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